               Case 8:24-cv-01205-ABA           Document 40         Filed 10/04/24      Page 1 of 2


                                  UNITED STATES DISTRICT COURT
                                           DISTRICT OF MARYLAND

       CHAMBERS OF                                                                          101 WEST LOMBARD STREET
      ADAM B. ABELSON                                                                      BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                                     (410) 962-7750
                                                                                         MDD_ABAchambers@mdd.uscourts.gov




                                                 October 4, 2024

    To:              Counsel of Record

    Subject:         Lee v. Brookside Park Condominiums, et al.
                     Civil No.: 8:24-cv-01205-ABA

    Dear Counsel:

           As I mentioned in my letter order of today’s date, I am providing you with my informal
    discovery dispute procedure. The parties should only use the expedited process detailed below for
    any disputes that remain after the parties’ good faith effort to resolve the dispute on your own.
    Please do not file any discovery motions until this process has been followed and I advise you that
    formal briefing is necessary.

            Be aware that, should I decide it is warranted, I may have either individual or all discovery
    disputes and related scheduling referred to a magistrate judge for resolution. In that event, any
    resolution procedure put in place by the magistrate judge will supplant this one.

            My informal discovery dispute procedure is as follows:

           You are required to attempt to resolve any discovery disputes among
    yourselves in the first instance. If you are unable to do so, you may:

            1.       File a joint brief letter (not to exceed one page) advising me that you would like me
                     to resolve a discovery dispute (noting the nature of the dispute), confirming that you
                     have attempted to resolve it on your own and that you have held a Local Rule 104.7
                     conference. This requirement contemplates a discussion between counsel, not an
                     email exchange.

            2.       Within 24 hours of sending the joint letter noted above, counsel involved in the
                     discovery dispute shall file short letters (not to exceed three pages) setting forth their
                     respective positions. You are not to “reply” to each other’s letters. This procedure
                     contemplates that you will file your letters contemporaneously and that you are
                     already familiar with the other party’s position by virtue of your conference. If the
                     dispute pertains to requests for production of documents, interrogatories, or requests
                     for admission, please attach a copy of the responses (and, if information from the
                     requests, such as definitions, are pertinent to the dispute and are not reflected in the
                     written responses, then attach the requests as well). Do not file other attachments to
        Case 8:24-cv-01205-ABA           Document 40        Filed 10/04/24       Page 2 of 2

               your letters unless I have granted permission in advance. Any request should detail
               what it is you request permission to attach, including its length and the need for it.

       3.      Upon review of these letters, I will determine whether a conference or hearing is
               necessary to resolve the dispute. If not, I will resolve the dispute. If so, my chambers
               will contact you with a timeframe for when I am available for a conference call or
               hearing.

       4.      If I advise counsel that I would like to have a telephone conference, the parties
               should confer and report to my chambers the date and time, within that timeframe,
               when all counsel are available and will be contacting chambers.

       5.      It shall be the responsibility of plaintiff’s counsel to arrange for a conference call at
               the prescribed time.

        I will do my best to resolve as many discovery disputes as I can in this informal
manner. If, however, I determine that the issues are too complicated for me to do so after
hearing from you, or after review of the letters submitted pursuant to paragraph 2 above, I
will direct that the procedures for formal briefing be followed.

       Despite the informal nature of this letter, it will constitute an order of the Court and will be
docketed accordingly.

                                                       Sincerely,


                                                              /s/
                                                       Adam B. Abelson
                                                       United States District Judge
